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 14                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 15
 16
      SHAWN LLOYDELL BARRETT,                  ) Case No. 8:20-cv-01808-AGR
 17                                            )
 18   Plaintiff,                               )
                                               ) JUDGMENT OF REMAND
 19
            v.                                 )
 20                                            )
 21   KILOLO KIJAKAZI 1,                       )
      Acting Commissioner of Social            )
 22   Security,                                )
 23                                            )
      Defendant.                               )
 24
            The Court having approved the parties’ Stipulation to Voluntary Remand
 25
      Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment for
 26
      Plaintiff (“Stipulation to Remand”), IT IS HEREBY ORDERED, ADJUDGED
 27
 28   1
       Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
      2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
      Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
      suit. No further action need be taken to continue this suit by reason of the last
      sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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